

PER CUR.

The Court is of opinion, that the judgment of the District Court is erroneous, in affirming that of the County Court, against the appellant, as executor of the said Edwin Young, without directing the damages and costs to be levied of the goods and chattels of the said *201Edwin Young, in the hands of the appellant, to be administered, if so much thereof he had; but, if not, then of his own goods and chattels, according to law; therefore, it is considered, that the said judgment of the Distrie! Court be reversed and annulled: And, on the motion of the appellee, who suggested that the transcript of the record of the proceedings in 1 ho County Court, transmitted to the Distinct Court, in this cause, is not correct; and it appearing, by a separate copy of the judgment in the County Court, certified by the Clerk thereof, that there is a material variance between that, and the judgment aforesaid, the cause is remitted to the District Court, for that Court to obtain by certiorari, or otherwise, a true and correct transcript of the judgment of the said County Court, and for further proceedings to be had therein.
